
B &amp; T Realty Associates, LLC, Respondent,
againstDorothy Amoamah, Appellant.




Dorothy Amoamah, appellant pro se.
Stern &amp; Stern, Esqs., for respondent (no brief filed).

Appeal from a decision of the Civil Court of the City of New York, Kings County (Thomas M. Fitzpatrick, J.), dated December 23, 2015, deemed from a final judgment of the same court entered December 29, 2015 (see CPLR 5512 [a]). The final judgment, after a nonjury trial, awarded landlord possession and the sum of $884.52 in a nonpayment summary proceeding.




ORDERED that the final judgment is affirmed, without costs.
Prior to the commencement of this nonpayment proceeding, tenant had filed two separate complaints against landlord with the Division of Housing and Community Renewal (DHCR). At a nonjury trial in the instant proceeding, a copy of a DHCR order dated December 5, 2013 was admitted into evidence showing that tenant's rent had initially been reduced, but had been restored to its full legal amount as of March 1, 2013. Tenant contended that a second DHCR order, dated March 20, 2015, also introduced into evidence at trial, instead restored the full legal rent only as of March 1, 2014, one year later. Tenant admitted that she did not pay the restored rent for the period of March 2013 through February 2014. Following a nonjury trial, the court awarded landlord the sum of $884.52, representing an underpayment of $73.71 per month from March 2013 through February 2014, pursuant to the 2013 DHCR order.
A review of the record establishes that the 2013 DHCR order restored tenant's full legal rent starting March 1, 2013. The 2015 DHCR order confirms this in its rent calculations but [*2]misstates the date in a footnote. Despite the typographical error, tenant owes the restored rent for the period of March 2013 through February 2014.
Accordingly, the final judgment is affirmed.
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: February 09, 2018










